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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. MJ 08-538
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     EDGAR D. BARRON-GONZALEZ,                         )
10                                                     )
                              Defendants.              )
11                                                     )

12   Offense charged:

13         Possession of Methamphetamine with Intent to Distribute.

14    Detention Hearing: November 24, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)     Defendant did not present any information about his background, ties to the area,

22    health or employment history.

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     DETENTION ORDER -1
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 1         (2)     Defendant has no legal status in the United States. In view of these circumstances,

 2    defendant through his counsel stipulated to detention.

 3         It is therefore ORDERED:

 4         (1)     Defendant shall be detained pending trial and committed to the custody of the

 5    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6    from persons awaiting or serving sentences, or being held in custody pending appeal;

 7         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 8    counsel;

 9         (3)     On order of a court of the United States or on request of an attorney for the

10    Government, the person in charge of the correctional facility in which defendant is confined shall

11    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

12    with a court proceeding; and

13         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

14    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

15         DATED this 24th day of November, 2008.

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17                                                        A
                                                          BRIAN A. TSUCHIDA
18                                                        United States Magistrate Judge

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     DETENTION ORDER -2
